1

2       ◼ PETER SZANTO
     11 Shore Pine
3    Newport Beach CA 92657
     949-887-2369
4
                                             United States District Court
5                                                    in and for the District of Oregon
                                                        1000 SW Third Ave, Portland ORE 97204
6
     Peter SZANTO
                                                          ## 3:21-cv-163 and 3:21-cv-417 SI
7

8        Involuntary Debtor, Petitioner
                                                                From US Bankruptcy Court
9
                                                                        District of Oregon
       vs.
10                                                                 Core Case - 16-bk-33185
11
         Chapter 7 Trustee
12                                                                        Appellant’s
13   ++ ORAL HEARING REQUESTED ++                                       Opening Brief
14

15                  May it please this Honorable Court.

16
                    This appeal relates to Appellees’ improper, fraudulent and untrue presentation
17
     of misleading information and materials to the Bankruptcy court.
18

19                  Appellees’ allegations, commencing in 2018 focused on the knowingly false

20   and phony representation that Appellant, Peter Szanto, squirreled and stashed money in

21   Singapore to avoid and evade the confiscation and expropriation of all his property by

22   the Bankruptcy court and Appellees herein.

23
                    This Appeal attacks the resultant Bankruptcy court decisions regarding the
24
     findings which held Peter Szanto in contempt and commanded his arrest.
25

26                  Demonstrated here is the allure of stealing $8.5 million from Appellant and

27   also robbing $2.5 million from Susan Szanto were excellent inducements to compromise

28   and flush all moral and ethical considerations required to practice law in Oregon.
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27

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2                      ‘6. Trustees Become Sad that they Are Unable to Abuse Singapore’s
3                       Law in the Manner Judge McKittrick Allows them to Abuse USA Law

4
                                                 –
                        So They Pull “An Oldie But Goodie” Out of Their Bag of Trickery
5
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6
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8

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10

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15

16

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24

25

26

27

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1

2                        ‘1. NO WAIVER / FORFEITURE of 28 USC 157(c) !!
3

4
             After 7 years of litigating in Oregon’s Bankruptcy court, Appellant understands
     that court’s foundational principal is waiver and forfeiture: constant, incessant and never
5
     ending involuntary abandonment, penalties of enforced loss which easily trump all legal
6
     principles of reliance on evidence, facts, reality, fairness. Forfeiture and waiver likewise
7    brand as just plain silly the foundational principles of American law and jurisprudence of

8    adjudication on the bases of truth and the merits of any dispute.

9
             Appellant does not agree, nor consent-nor admit that he somehow waived or
10
     forfeited or otherwise became voluntarily deprived of the protections and right to final
11   adjudication of the within issues of contempt and arrest by this District Court under 28
12   USC 157(c)(1):

13
                 A bankruptcy judge may hear a proceeding that is not a core
14          proceeding but that is otherwise related to a case under title 11. In

15          such proceeding, the bankruptcy judge shall submit proposed

16
            findings of fact and conclusions of law to the district
            court, and any final order or judgment shall be entered by the district
17
            judge after considering the bankruptcy judge’s proposed findings and
18          conclusions and after reviewing de novo those matters to which any party
            has timely and specifically objected.
19

20          Appellant contends that nothing within 28 USC § 157(c)(1) either provides for,
21
     or contemplates, or addresses, or directs, or even suggests any possibility of that law’s
22
     unnoticed, unwritten, inadvertently mis-comprehended, unintentionally-and-wholly
23
     misunderstood, waiver or forfeiture of the right to a District Court final decision of the
24
     issues of contempt and arrest.
25

26
            In the instance of the within falsified and contrived contempt motions, all relevant
27
     facts and questions should have been decided by this Court. By the time the contempt
28
     21-cv-163 / 417            Appellant’s Opening Brief January/2022                    – pg. 2
1

2    motions came before the Bankruptcy court, Appellees (most of whom are close personal
3
     friends of Judge McKittrick) had lied, misrepresented perjured and falsified so much that
4
     the Bankruptcy court’s hostility, bias and prejudice were so intense against Peter Szanto
5
     that any order, no matter how absurd (like castration, loss of a hand or foot or blinding)
6
     would have been readily granted.
7

8
              Appellant presents this brief seeking reversal of proceedings in the trial court
9
     without consenting or agreeing that the any entry of any decision was a final decision as
10

11   to the dispute between the parties herein. Or that Appellant consented to the Bankruptcy

12   court making any non-core final decision as to contempt or arrest.

13

14                                              ‘2. Jurisdiction

15          28 USC § 158(a) allows this District Court to hear appeals from final judgments
16   and orders of the Bankruptcy Courts:

17
            “(a) The district courts of the United States shall have jurisdiction to hear appeals
18
            (1) from final judgments, orders, and decrees . . . . . .
19
            of bankruptcy judges entered in cases and proceedings referred to the bankruptcy judges
20
            under section 157 of this title.”
21

22           The Bankruptcy court decisions seeking review and reversal are the following:

23   a) [APPENDIX 1-6] ORDER (filed 8-30-2018)

24   b) [APPENDIX 7-12] ORDER (filed 10-2-2018)

25   c) [APPENDIX 13-20] ORDER (filed 1-8-2021)

26   d) [APPENDIX 21-27] ORDER (filed 2-25-2021)

27   e) [APPENDIX 28] ARREST WARRANT (filed 2-25-2021)

28
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1

2                            ‘3. Harmful Error Basis for Reversal
3
             Appellant herein attacks the trial court’s decisions which are contended to be, and
4
     will be demonstrated to be, clearly erroneous and intentionally abusive of ALL judicial
5    power and discretion: 1) when analyzed as to logic and basic human understanding of
6    reality, 2) plain and clear meaning of various laws (especially the laws of the sovereign
     nation of Singapore, 3) when assessed and considered in regard of the facts and
7
     evidence of this case, 4) when considered in contra-position with Judge McKittrick’s
8
     diametrically opposite rulings in these same cases in favor of – and benefit for
9
     persons upon whom McKittrick’s judicial grace is lavished without limitation and
10   without regard to any of the most essential ethical standards of fairness, truth, justice or

11   law.

12          Appellant’s analysis relies on the well settled law that appellate review regarding
13   questions of law, need be considered de novo. Allis Chalmers Credit Corp., et al. v. Tri-

14   State Equipment, Inc. (1986) 792 F.2d 967 accord Vibra-Tech Engineers v. United
     States (1986) 787 F.2d 1416. As will be seen throughout this brief, Judge McKittrick
15
     rules, nearly exclusively, on the basis of purposefully misapprehending the laws of the
16
     United States so that those knowingly erroneous decisions can be used to keep Peter
17   Szanto trapped and subservient to this endless Bankruptcy.
18
            Appellant prays this court, de novo, to review anew all of the matters which will be
19
     presented as clear errors of the trial court’s various decisions referenced herein.
20

21          Furthermore, this Court’s review of questions of fact and law which involve

22   “primarily a consideration of legal principles” should also be considered de novo. Mullan
     v. Quickie Aircraft Corporation (1986) 797 F.2d 845, 850.
23

24
            Here, when Appellant references “consideration of legal principles” he means
25   fundamental fairness and essential equity. That is, looking objectively at the underlying
26   Bankruptcy herein: 1) there is no rational basis for this Bankruptcy to be continuing now
     into its 7th year, 2) there is no valid basis for the depraved indifference murder of Susan
27
     Szanto by the Trustees and their counsel, 3) it is unreasonable to believe that the true
28
     21-cv-163 / 417            Appellant’s Opening Brief January/2022                   – pg. 4
1

2    function of the Title 11 Bankruptcy laws is to expropriate and confiscate $8.5 million from
3    Peter Szanto along with $2.5 million of separate property, non-Bankruptcy property, non-

4
     community property and $700,000 of personal effects from Susan Szanto.

5
           In other words, Appellant contends that when the Constitution enabled the law of
6
     Bankruptcy neither the purpose nor the goal were to extract all of a debtor’s assets so
7    those assets could be handed over to Trustees and their counsel concocting evermore

8    silly, unnecessary and knowingly fraudulent actions to drive forward and continue the
     unconscionable looting of Bankruptcy estates until the debtor’s last nickel was stolen.
9

10
           The reason Appellant is pursuing this Appeal is not merely to vacate and set aside
11   the improper contempt citations and arrest warrant against him, but so the realization
12   finally comes to Judge Simon that the within Bankruptcy has been improper and abusive
     from its inception. And that Peter Szanto is merely a hostage in Appellees and their
13
     counsel’s unending abuse of Bankruptcy law!!
14

15
                                    ‘4. FACTS
16

17          When Appellant previously brought to this Court’s attention Judge McKittrick’s

18   1st hearing inquiry about how to pronounce ‘Szanto,’ it was not whining about ouchies

19   and boo-boos, because of a perceived slighted. Rather, it was clear evidence of judicial

20   behavior the complete opposite of District Judges Casey and Freeman for whom

21   Appellant clerked. Those judicial officers (and others for whom Appellant substituted)

22   were meticulous about being certain that their knowledge and pronunciation of all those

23   appearing before them was exact and always correct. (Phoning some local university’s

24   language department takes only moments).

25

26           Judge McKittrick proceeding contrarily to what Appellant had directly witnessed

27   from many other judicial officers was merely demonstration of an aspect of judicial

28   behavior antithetical to what Appellant understood to be normal, proper and respectful.
     21-cv-163 / 417           Appellant’s Opening Brief January/2022                  – pg. 5
1

2             The next demonstration of Judge McKittrick’s disdain for Appellant was denial of
3    the electronic filing privilege. [APPENDIX 29-30] Thereby Appellant sustained the first
4    occurrences of unnecessary and irrational bias. No other judge had previously denied
5    Appellant the ability to file electronically. Particularly abusive about that denial was that
6    Judge McKittrick intentionally hijacked that petition intended for the presiding judge’s
7    authority and discretion.
8

9              The ECF privilege was never meant to be a bludgeon against pro se litigants
10   who are already at an extreme disadvantage against trained attorneys, who, as so many
11   in the within series of cases, are close personal friends and former law partners of the
12   Judge McKittrick.
13

14             In any event, denial of the ECF privilege extracted several thousand dollars
15   from Appellant who thereby needed to use FEDEX delivery to make certain his papers
16   arrivedon time.
17

18             Third, Judge McKittrick has stated specifically and emphatically dozens and
19   dozens of times he does not care for Appellant’s demeanor. Judge McKittrick has very
20   often stated his professional analysis that Appellant’s demeanor is that of a liar. Indeed,
21   Judge McKittrick has orally emphasized that the decisions in his court are made based
22   wholly on the Bankruptcy court’s assessment of Appellant’s demeanor.
23

24              Appellant has suggested to Judge McKittrick multiple times that demeanor
25   assessment with consequent decisions made based on “purely visual analysis” are
26   nothing except pure appearance discrimination. Appearance discrimination being all of
27   those biases which are based on skin, hair or eye color or the shape of one’s face.
28
     21-cv-163 / 417             Appellant’s Opening Brief January/2022                   – pg. 6
1

2               Appellant has encouraged Judge McKittrick to incorporate his many demeanor
3    adjudications into his written decisions. Thereby Szanto could respond or perhaps obtain
4    medical analysis for the features of his face, wrinkle-by-wrinkle. Physician review of the
5    judicial assessments of the way Szanto’s looks are being perceived. In 7 years, Judge
6    McKittrick has merely announced his decisions as always being based exclusively on
7    Szanto’s demeanor, but has never-ever committed any decision based assessments of
8    facial expressions, visual manifestations or appearance into his opinions.
9

10             Given these blatant demonstrations of bias against Peter Szanto’s appearance
11   it is no surprise that Appellees realized that they could get away with any offensive and
12   repugnant nonsense so long as the abuse plugged into the hostility already seething
13   from Judge McKittrick.
14

15
            a. How Susan Szanto’s HSBC Bank Singapore Account Became
16                     the Bankruptcy Trustees’ Abusive Obsession

17

18
                When Bankruptcy Trustee Arnot first contacted Appellant in December 2017,
19
     he had already seized all of Appellant and Susan Szanto’s financial accounts. Appellant
20   and his wife no longer had access to their money. Obtaining food, getting, gas paying for
21   prescriptions, paying utility bills and other necessities of life were immense problems.

22
                As a “bonus” and initial example of the abuse that has continued now for 6
23
     years, Arnot even seized Appellant and his spouse’s retirement accounts which are
24   precluded from seizure by law. California Code of Civil Procedure § 704.115.
25
                During the initial month of Appellant’s Chapter 7 incarceration in 2017, the
26
     Trustee destroyed more than $500,000 of value of the Bankruptcy estate by sheer and
27   total incompetence in regard of Appellant’s financial accounts. No doubt, the Trustee, a
28
     21-cv-163 / 417           Appellant’s Opening Brief January/2022                  – pg. 7
1

2    close personal friend of Judge McKittrick, likely stole thousands more, knowing that no
3    accounting would ever be required or be necessary to cover-up his looting and thievery.

4
              The Trustee’s malfeasance and misfeasance in office regarding Appellant’s
5    investments was, among other things, looting Appellant’s Bankruptcy estate to finance a
6    month’s vacation at the Fairmont Monte Carlo’s opulent resort and spa.

7
               While the Trustee frolicked in luxury, Appellant’s investment strategies were
8
     neglected, disregarded and allowed quickly to lose value due, solely and only, to the
9
     Trustee’s failures to monitor and take action to protect any of Appellant’s profitable bank
10   positions, investments and business strategies.

11
                When Trustee returned from vacation and Appellant tried to explain these
12
     many, but unnecessary, loses the Trustees reaction was to liquidate the balance of
13
     Appellant’s investments “at the market” and thereby sustain a further $500,000 of loses.
14

15              After returning from his luxury vacation in Monaco, Trustee Arnot appeared at
     Susan Szanto’s residence (at the commencement of the Chapter 7 expropriations and
16
     seizures, Appellant and Susan Szanto were not living together). Trustee Arnot came
17
     accompanied with a moving van and assistants who removed approximately $700,000
18   of Susan Szanto’s own, personal, separate property, non-Bankruptcy property, non-
19   community property (furniture, kitchenware, jewelry).

20
                          1. Further Seizures
21

22
                   One important aspect of Appellant’s investment strategy was the trading of
23   foreign currencies and profiting from currency fluctuations.

24
                   Appellant often – during the last 50 years traded and held positions in the
25
     currency of Singapore.
26

27                 The trading of Singapore’s currency was clearly evident in any review of
28   Appellant’s finances.
     21-cv-163 / 417           Appellant’s Opening Brief January/2022                  – pg. 8
1

2                  By March 2018, due solely and only to psychic injury and emotional harm
3    inflicted by the Trustee’s confiscation of Appellant’s spouse’s separate property, non-

4
     Bankruptcy property, non-community property, Appellant’s spouse required intensive
     medical care and hospitalization; her mental and physical devastation were complete.
5

6
                  This was not merely mental collapse, but rather bodily manifestations of
7    psychological trauma, most particularly related to Susan’s internal organs.

8
                   The physical harm and injury maliciously inflicted upon Appellant’s spouse
9
     by the Trustees and their counsel manifested itself in a multitude of hepatic disorders
10
     and atrophy of the blood supply to Appellant’s wife’s liver.
11

12                 Appellant contacted the Trustee to apprise that, he, Peter Szanto, would be
     unavailable regarding the within Bankruptcy while he accompanied his wife to Singapore
13
     so she could obtain liver regeneration therapy. After exhaustive research, Appellant had
14
     ascertained through aid of medical professionals that Singapore’s National University’s
15   Medical Research Hospital was accomplishing the most advanced research in those
16   areas which were Susan’s most severe traumas.

17
                  Travel to Singapore was itself an immense ordeal because Appellant’s
18
     spouse was too ill to travel by plane. The 6-week trip by ship meant that Appellant was
19
     unable to access telephone or internet for most of that time.
20

21                     ‘2. Trustees and Their Counsel Become Obsessed
                             With Non-Existent Money in Singapore
22

23
                   Trustees’ “greed-dar” (personal radar sensing the availability of more of
24   Appellant’s money available to be looted) internalized, imagined and fantasized that
25   because Appellant was seeking medical treatment for his wife in Singapore, that

26
     must definitely mean that Appellant had secreted Bankruptcy estate money to
     Singapore to be able to pay for Susan’s medical treatment.
27

28
     21-cv-163 / 417           Appellant’s Opening Brief January/2022                  – pg. 9
1

2                 The ‘how could this be’ of this absurd accusation --- that is the Trustee
3    presuming money in Singapore, because Appellant sought treatment for his wife in

4
     Singapore---was something the Bankruptcy judge never considered (or understood)
     because the lying and fabrications of the Trustees and their counsel are always enough
5
     to conclusively rule against Appellant without evidence in Judge McKittrick’s court.
6

7                 For this reason, there is nothing more to the Trustees’ Singapore allegations

8    and 4 years of additional looting of Appellant’s Bankruptcy estate seeking money in
     Singapore other than this absurd, erroneous suspicion about Appellant’s non-existent
9
     money in Singapore.
10

11                From that time until now, more than 4 years later, Trustees and their local
12   counsel and their hired Singapore counsel, have become obsessed with their imagined,
     fantasized and dreamed-up notion that there is Bankruptcy estate money to be looted
13
     and confiscated from HSBC Bank in Singapore.
14

15

16                 3. Trustee’s Efforts at Intimidation By Seeking Contempt ORDER

17
                   In an effort to intimidate Appellant, the Trustee exerted unconscionable
18
     emotional stress and psychic injury on Appellant under the phony premise that Appellant
19
     was hiding money in Singapore. This culminated on 8-30-2018 when the Bankruptcy
20   court, summarily and without evidence, found Appellant in contempt [APPENDIX 1-6] for
21   allegedly failing to turn over money in Singapore which, simply, did not exist.

22
                  Again, accusations about Peter Szanto are all that are required in Judge
23
     McKittrick’s court. A perfect strategy is to say anything negative, abusive or slanderous
24   or offensive about Peter Szanto and Judge McKittrick will believe it without investigation.
25   The more absurd the lie – the more intense will be Judge McKittrick’s belief in the truth

26
     of that lie. Rational consideration of facts is not a metric used by Judge McKittrick.

27
                  Accusations always trump facts and evidence for Judge McKittrick.
28
     21-cv-163 / 417            Appellant’s Opening Brief January/2022                  – pg. 10
1

2                      Throughout the initial span of time, when Susan Szanto began to need
3    medical assistance, March – August 2018, Appellant stated multiple times that he had

4
     no money in Singapore.

5
                       After the contempt ORDER, Appellant, based on intimidation, terror and
6    fear of arrest, deprivation of essential life preserving chemotherapy, signed the required

7    documents to the HSBC Bank Singapore under the most extreme conditions of judicial
     coercion.
8

9
                       Appellant was profoundly fearful that because Singapore is a Moslem
10   nation, Moslem Sharia Law might provide him never requested, totally unwanted rights
11   as to the bank account held at HSBC Bank Singapore by Susan Szanto. That is, even
     though Appellant had no bank account at HSBC Bank Singapore, a bank officer might
12
     imply, infer or mandate Sharia rights based on Islamic male family dominance.
13

14                However, no documents provided by the Trustee were acted upon by HSBC
15   Bank Singapore, because – as Appellant had emphasized -- Appellant had no accounts

16
     at HSBC Bank in Singapore.

17
                  However, because Susan Szanto was gravely incapacitated at the time,
18
     Appellant monitored and liaised with HSBC Singapore Bank about the situation to make
19   certain that no money belonging to Susan Szanto – essential to her medical care was
20   confiscated by the Trustees.

21
                         A. Trustee’s Efforts to Abscond With Assets
22

23                During consultation with HSBC Bank Singapore a grave problem was
24   pointed out to Appellant. [APPENDIX 4] contains Mr. Arnot’s instruction that money be

25
     forwarded to a Bank account in Wisconsin for the benefit of Mr. Arnot.

26
                  As matters of fact and law, Trustee Arnot is not licensed to practice law in
27
     Wisconsin. Therefore, there was grave concern at HSBC Bank Singapore about the
28
     21-cv-163 / 417              Appellant’s Opening Brief January/2022               – pg. 11
1

2    fact that Trustee Arnot could not practice law as a Bankruptcy Trustee in a state where
3    he is not licensed to practice law in any form.

4
                  This fact is clear and convincing evidence that the money which Trustees
5
     have seized from Peter Szanto is being placed in bank accounts in a state where the
6
     Bankruptcy court sistused in Oregon has no jurisdiction.
7

8                 That is, Trustee’s Wisconsin bank account is not any proper account for an
     Oregon Bankruptcy, because Mr. Arnot is not licensed to practice law (IE, act as a
9
     Bankruptcy Trustee) in Wisconsin.
10

11
                   4. Further Trustee’s Efforts at Intimidation
12

13                     Rational beings would have then reacted to the evidence of a) Appellant’s

14   continuing assertions, under oath, that there were no Bankruptcy estate assets in
     Singapore and b) the fact that the affidavit signed by Appellant had not resulted in any
15
     action by HSBC Bank Singapore.
16

17                     However, because the within case is an exemplification of gluttonous
     greed, the Trustees and their counsel --- became maniacally obsessed with generating
18
     for themself unnecessary fees for accomplishing nothing in a situation where nothing
19
     could or needed to be accomplished, because there no Bankruptcy estate assets in
20   Singapore.
21
                       After August 2018, while Appellant presumed and thought the entire
22
     matter of Trustees’ false allegations of Bankruptcy estate money in Singapore totally and
23
     completely resolved, the Trustees were nonetheless obsessing over ways to loot and
24   expropriate (gravely hospitalized) Susan Szanto’s money in Singapore.
25

26
                       The shocking fact is the reality of this case. Susan Szanto, gravely ill
     being hounded for her separate property, non-Bankruptcy property, non-community
27
     property by the greed and avarice of the Trustees and their counsel.
28
     21-cv-163 / 417              Appellant’s Opening Brief January/2022                   – pg. 12
1

2             ‘5. Trustees Commence Litigation Against Appellant in Singapore
3

4
                   Trustees and their counsel, without notice of any type to Appellant or
     Susan Szanto engaged Singapore counsel to commence an action to obtain Appellant’s
5
     non-existent alleged money from HSBC Bank Singapore [APPENDIX 31-32]. That action
6
     was commenced January 21-2019. Appellant by way of the laws of Singapore became,
7    and still is, a putative legal Bankrupt under Singapore’s law.

8
                  However, Trustees and their USA’s counsel’s and their Singapore counsels’
9
     prosecution of that litigation is an obscenity of law and a mockery of the judicial process
10
                                                                                             1
     of Singapore BECAUSE AFTER 3 YEARS IT STILL HAS NOT BEEN SERVED!!
11

12
                  The Singapore litigation [APPENDIX 31-32] is a grave affront to the basic
13   principles of Anglo Saxon law as practiced in the United States and Singapore, because
14   a) it was never noticed, b) it was never served, c) proceeded contrary to law because it

15
     was presented ex-parte without any basis, cause or legal justification to be heard ex-
     parte, d) relied not merely on a non-existent cause of action, but a cause of action
16
     specifically precluded by Singapore law.(infra at Memorandum # ‘d.’)
17

18                 As will be explained in the Memorandum, the unconscionable looting of

19   Appellant’s Bankruptcy estate has become a psychological obsession for the Trustees,
     Trustees’ counsel, and the Singapore law firm which was retained by Trustees.
20

21
                       The Trustees and their counsel know that Judge McKittrick’s absolute and
22   clear intent is to liquidate all of Appellant’s $8.5million to benefit Trustees’ and their

23   counsel. Trustees and their counsel know that as this 7-year-old Bankruptcy progresses
     to 10, 20, 30 years they will be rewarded with all of Appellant’s Bankruptcy Estate.
24
        -   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ------
25
        1. Another aspect of the looting in this case is that after 3 years of the never noticed
26   never served action in Singapore, Trustees and their counsel and the Singapore law
27   firm have both been enriched by approximately $½ million dollars each for the act of
     maintaining litigation not allowed by Singapore law.
28
     21-cv-163 / 417              Appellant’s Opening Brief January/2022                   – pg. 13
1

2         ‘6. Trustees Become Sad that they Are Unable to Abuse Singapore’s Law
3              in the Manner Judge McKittrick Allows them to Abuse USA Law –

4
               So They Pull “An Oldie But Goodie” Out of Their Bag of Trickery
               and Replead Contempt Knowing Full Well That Judge McKittrick
5
              Will GRANT Any Motion to Harm Peter Szanto Regardless of Facts,
6
                Truth, Law, Propriety, Morality or Any Other Aspect of Reality!!
7

8             What this appeal is about is the Trustees and their counsels total abuse of law!

9
               What occurred is this: a) in 2018 Appellees alleged Appellant would not sign
10
                                         a document to release funds from HSBC Bank in
11                                       Singapore.
12
                                      b) Appellant set aside his concerns and signed anyway
13

14
                                      c) Thereafter in January 2019, Appellees commenced
15                                       an ex-parte Bankruptcy action against Appellant in
16                                       Singapore ex-parte and without notice or service.

17
                                      d) Appellees’ ex-parte, unnoticed, never served action
18
                                         in Singapore is unsuccessful, because Appellees
19
                                         cannot find a Singapore judicial officer to disregard
20                                       their lack of service and lack of notice abuse of
21                                        Singapore’s law.

22
                                      ‘e) August 2020, Appellees refile their contempt motion
23
                                         [APPENDIX 33-41] seeking the same relief which
24                                        was granted 2 years earlier.
25

26
                       A. Reality Must Be Allowed to Participate in this Bankruptcy

27
                 The incredible absurdity of Appellees’ second contempt motion is patent on
28
     21-cv-163 / 417           Appellant’s Opening Brief January/2022                   – pg. 14
1

2    its face as the fact of why, if Appellant had not actually signed the 2018 document
3    ordered by the contempt ORDER, why would the Appellees wait 2 years to seek

4
     enforcement of Appellant’s alleged disobedience??

5
                   Second, likewise to emphasize the incongruity of the second contempt
6
     motion: why would Appellees and their Singapore counsel pursue a new Bankruptcy
7    action in Singapore – ex parte, without service and without notice – [APPENDIX 31-32]

8    if Appellant remained in contempt in the United States ??

9
                        B. Very Distinct Response to the Query of Appellees’ Two Year
10
                            Hiatus of Reliance on Contempt is that Appellees Sought to
11                        Pile on Obscene and Unconscionable Fees So As to Facilitate
12                         Their Abuse of their Trustee’s Office by Obtaining Excessive
                           Fees for Unnecessary Work and Non-Existent Controversies
13

14
                  There was no reason for a two-year delay in the second contempt motion if
15   Peter Szanto had actually failed to comply with the first!! All that was occurring was that
16   Appellees were “racking in the loot” of improper fees by pursuing an action in Singapore

17   in total contravention of that nation’s Bankruptcy laws.

18
                   Of course, this logic and reality does not impress Judge McKittrick. Judge
19
     McKittrick will grant Appellees any relief that will cause harm, pain and misery to Peter
20   Szanto – and generate additional Trustee and their counsels’ fees.
21
                  Thereupon, the entire of the second contempt motion was nothing but a
22
     shocking scam to terrorize Appellant emotionally and psychologically with the possibility
23
     of being thrown in jail and thereby being deprived of life preserving chemotherapy.
24

25                Thus, in the final analysis what puts the lie to the second contempt motion

26
     [APPENDIX 13-20] is the fact that had Peter Szanto not followed the command of the
     first contempt ORDER [APPENDIX 7-12] why would Appellees wait two years to
27
     enforce that contempt order?
28
     21-cv-163 / 417           Appellant’s Opening Brief January/2022                   – pg. 15
1

2          ‘7. The Bankruptcy Court, “Hand-in-Hand,” With the Trustees Facilitates
3              the Confiscation of Appellant’s Money and Property By Failing to

4
                   Allow Appellant the Fundamental Right to Defend Himself

5
                  While this Court may not like Appellant’s comments about the Bankruptcy
6
     judge’s abuse of law, denial of judicial process and bias in regard of Appellant, these are
7    nevertheless the true and painful facts of the series of cases now before this Court.

8
                  The Bankruptcy judge’s discovery denial abuses are at [APPENDIX 13].
9

10
                  First, the context in which these events were occurring in November and
11   December 2020 were during the most excruciating medical crises, hospitalizations and
12   final agonies leading to the death of Susan Szanto on 12-23-20.

13
                   For Judge McKittrick the theory of psychological punishment to inflict on
14
     Peter Szanto seems to be that if he rejects a stay based on medical emergencies one
15   time then subsequent rejections based on new medical urgencies (as to a person who is
16   terminally ill with melanoma, needs thrice weekly chemotherapy and is battling the final

17   decline and death of his most beloved spouse) are merely “solid,” justified, mandated
     enforcements of an order which really need not take into consideration the reality of
18
     suffering and emotional anguish which Appellant is struggling through. Indeed, this
19
     dissociation from reality that one denial of sympathy for Appellant’s medical crisis opens
20   all justifications for further denials based not on medical necessities, but because
21   previous denials need be enforced. Factually, it appears that Judge McKittrick seems to
     believe that an initial denial of Appellant’s medical needs has no relationship to the
22
     second, third or fourth time further medical crises arise.
23

24                     Thus, this Court can recognize that the trial court’s denial of discovery
25                 [APPENDIX 13]
                   On January 8, 2021, Debtor filed a motion captioned 2nd
26                 Motion for Stay of Contempt Proceedings for the Purpose of
                   Conducting Mandatory Discovery,
27

28
     21-cv-163 / 417               Appellant’s Opening Brief January/2022                   – pg. 16
1

2    merely denied Appellant the ability to demonstrate the absolute absurdity and abuse of
3    process being fully and completely presented in evidence at the contempt hearing.

4
                  Had Discovery been allowed, Appellant would have propounded written
5    interrogatories focused on the fundamental questions of procedural abuse by the
6    Appellees (requiring those responses to be signed under penalty of perjury):

7
                   i)     if Peter Szanto did not comply with the demands of a contempt
8                         order in 2018, why was further action as to that contempt order
9                         delayed for 2 years?

10
                   ii)    if Peter Szanto did not comply with the demands of a contempt
11                        order in 2018, why did the Trustees pursue an involuntary
12                        Bankruptcy action in Singapore against Peter Szanto in 2019?

13
                   iii)   if Peter Szanto did not comply with the demands of a contempt
14                        order in 2018, why did Trustees pursue an action against Peter
15                        Szanto in Singapore that was prohibited by Singapore’s laws?

16
                  Upon these facts, because Judge McKittrick facilitated disregard of the most
17
     fundamental inquiries that need be made of the Trustees and their counsels’ abject,
18   intentional, calculated looting and thievery based on their own continuing fabrication of
19   non-existent controversies.

20
                  The reality of the basis for the second contempt order was resigned to
21
     nothing more than the Trustees lying about the events as to the first contempt order so
22
     that they could continue further to unconscionably enrich themselves.
23

24                 These constraints on the trial court’s ability to find any rational justification
     for the second contempt motion scream-out for reversal on the basis that it is impossible
25
     to believe that these aggressive Trustees and their counsel would wait two years to
26
     enforce the First contempt order, while during the same period pursuing a cause of
27   action precluded and prohibited by the laws of Singapore!
28
     21-cv-163 / 417            Appellant’s Opening Brief January/2022                      – pg. 17
1

2
                                          5. MEMORANDUM
3

4

5
                                             a. Introduction
6

7               Since a clear understanding of the facts of this Appeal requires knowledge of

8    Singapore’s law, a primer is provided. This guide is provided so the Court can easily

9    refer to the Singapore Court’s official website to confirm any of the laws and rules to

10   which Appellant refers in this Brief.[APPENDIX 42-43]

11

12

13                                       b. Finding Singapore’s Law

14

15                     Access to Singapore’s laws is wholly transparent. Throughout this brief

16   when Appellant references Singapore’s laws, confirmation and viewing of those laws is

17   readily available at Singapore’s Government’s official legal and judicial portal referred to

18   as “Singapore’s Statutes Online.” [APPENDIX 42-43] displays and shows the format of

19   that page as a search engine. [APPENDIX 43] contains a primer, sitemap and tools to

20   obtain familiarity with finding and accessing Singapore’s laws.

21

22

23         c. Those Opposing Appellant are Privileged to do Whatever they Please

24                           Irrespective of Truth, Justice, Law or Reality

25

26          When Trustees’ Singapore counsel filed [APPENDIX 31-32], they (meaning the
27   Trustees, Trustees’ USA counsel and Trustees’ Singapore counsel) anticipated quick

28
     21-cv-163 / 417              Appellant’s Opening Brief January/2022                – pg. 18
1

2    Singapore Supreme Court judicial consent to their obscene looting and thievery.2
3

4            Indeed, as an abomination upon 1000 years of Anglo-Saxon law, jurisprudence
5    and fundamental fairness, the [APPENDIX 31-32] “Ex Parte Originating Summons” does
6    not even attempt to give notice nor warning nor service of the pleading nor explain why
7    notice and / or service and / or some warning might be unnecessary.
8

9             Without any education in the laws of any specific nation – and based only on
10   the words themselves, even a person with absolutely no legal training knows that a
11   “summons’” purpose is to summon—hail---bring--command a person to a legal
12   proceeding for fair adjudication before an impartial magistrate or other judicial officer.
13

14

15

16

17

18      2. Since Appellees knew that Appellant had no bank account in Singapore, the Trustees and their
           counsels’ true goal was always the looting of Appellant’s spouse’s money and property in
19         Singapore. That is, Appellant’s spouse was an IDF (Israeli Defense Force) liaison officer to
           Singapore’s military from 1973-1995 and had an HSBC Singapore Bank account throughout that
20         period. Appellant believes to a certainty that HSBC counsel Hogue provided this information to the
           Trustees (along with revealing the private and confidential exact amount of Appellant’s spouse
21         balance in that account. After Judge McKittrick’s failure to stop the Trustees from looting and
           confiscation of Appellant’s spouse’s non-Bankruptcy property, non-community property and
22         separate property, Trustees knew (because of their close personal friendship with Judge
           McKittrick) that they could do whatever they pleased. That is why the Singapore action was
23         undertaken. Thereafter, the intense emotional distress inflicted upon Appellant’s spouse by the
           theft of her property (furniture and household possessions and jewelry) caused (without
24         intervening factors) Appellant’s spouse’s death. Appellant contends the Trustees and their
           counsel are the depraved indifference, with malice aforethought, murders of his wife.
25

26

27

28
     21-cv-163 / 417              Appellant’s Opening Brief January/2022                          – pg. 19
1

2
             However, that is not what Appellees intended. Appellees and their Singapore
3
     counsels’ intent was looting, and thievery. The providing of notice would merely have
4
     complicated Appellees’ scandalous and despicable goal of larceny.
5

6             Singapore’s Supreme Court Courthouse is just a few blocks from Singapore’s
     National University Medical Research Facility whereat Appellant’s spouse was suffering
7
     the wrath of looting of her property by the Trustees and their counsel and the shocking
8
     indifference of the Bankruptcy judge as she battled courageously in the ICU trying not
9    to die. Every morning and every afternoon, Appellant passed by the Singapore Supreme
10   Court on the way to or after visiting his desperately ill and incapacitated wife.

11
                 Because Appellant anticipated trickery and deceit from Appellees, he checked
12
     the Singapore Supreme Court’s posted dockets every morning and every afternoon.
13

14               When Appellant’s name appeared on the docket, he appeared in the hearing

15   room where the sham / false / phony / fraudulent “ex parte hearing” was scheduled,

16   February 4, 2019 on the 2 P.M. calendar of Registrar Bing. (Registrar = Magistrate)
17

18               Appellees’ team of six Singapore ‘drop-dead-gorgeous’ female counsel (all

19
     dressed in alluring mini-suits with plunging necklines) appearing (on the clock pulling
     down obscene and unconscionable fees for an allegedly ex-parte hearing which one
20
     single competent attorney could easily have lied her way through) were stunned by
21
     Peter Szanto’s presence -- because Singapore counsel had done everything possible
22   fully to deprive Appellant of notice, service, warning and all other opportunity to

23   be heard.

24
                 Registrar Bing readily agreed with Appellant that there are no provisions
25
     under Singapore law for a never noticed, never served ex-parte hearing which could
26
     proceed without provision for, or explanation of why notice, warning, service and an
27   opportunity to be heard in defense should not be had.
28
     21-cv-163 / 417            Appellant’s Opening Brief January/2022                   – pg. 20
1

2               Registrar Bing on that day, February 4, 2019, ordered Appellees to notice and
3    serve Appellant not merely with the Summons, but also with all supporting documents
4    explaining their positions.
5

6               From that day until now, exactly 3 years later, Appellant has never been
7    served nor noticed with even a single document from the Singapore proceeding!!
8

9               Even though a judicial officer of the Supreme Court of Singapore has so
10   ordered Appellees to effect service.
11

12              Shockingly, it is incongruous to comprehend how the Trustees and their
13   counsel are able to advocate any proceeding which they initiated where no effort at
14   service or notice has ever been made or even attempted!!
15

16               The fundamental rule enunciated by the United States Supreme Court many
17   times is: “for the exercise of judicial jurisdiction in personam, there must be due process,
18   which requires appropriate notice of the judicial action and an opportunity to be heard.”
19   Blackmer v. United States, (1932) 284 U.S. 421, 438. Hundreds of identical decisions
20   by the courts of both Singapore and the United States are the foundation of adjudication
21   where both sides are heard by an impartial judicial officer.
22

23              The Singapore Supreme Court’s Rules of Court, Order #10, Rule 1 likewise
24   mandates service of all originating, commencing process as:
25
                   Subject to the provisions of any written law and these Rules, a writ must be served personally
26
                   on each defendant.
27

28
     21-cv-163 / 417               Appellant’s Opening Brief January/2022                             – pg. 21
1

2                The Singapore Supreme Court’s Rules of Court, Order #1, Rule 4 explains:
3
                  “originating process” means a writ of summons or an originating summons
4

5                Thus, the originating process in this case [APPENDIX 31-32] filed in the

6    Singapore Supreme Court has simply never been noticed nor served on Appellant at

7    any time since its filing on January 21, 2019.

8

9

10
      ‘d. Ex-parte Cause of Action in Singapore’s Supreme Court [APPENDIX 31-32]
11
                                 is Barred by the Laws of Singapore
12

13

14              Because the purpose of the Originating Summons [APPENDIX 31-32] filed in
15   the Singapore Supreme Court was, and is, intentionally to mislead the Supreme Court of
16   Singapore (and this honorable United States District Court in reviewing), it does not
17   reveal which law the originating summons [APPENDIX 31-32] is predicated upon for
18   legal justification, source of law or support as a valid and / or proper cause of action.
19
               The cited justification from the Singapore Supreme Court’s Rule of Court Order
20
     92 Rule 4 – is a catchall rule which merely states:
21

22
                    For the avoidance of doubt it is hereby declared that nothing in these Rules shall be deemed
23                 to limit or affect the inherent powers of the Court to make any order as may be necessary to
                   prevent injustice or to prevent an abuse of the process of the Court.
24

25             Of course, because the Originating Summons [APPENDIX 31-32] is a pleading
26   interposed upon the assumption that Appellant will never appear because Appellant will
27   never be served, there is scant reason to have any justifying cause of action at all!
28
     21-cv-163 / 417              Appellant’s Opening Brief January/2022                             – pg. 22
1

2               There is no recitation or indication of any valid basis or cause of action which
3    is complained of or at issue in [APPENDIX 31-32].3

4
                  However, there is one, and only one, Singapore law which ostensibly could
5
     justify the in personam recognition of a court determination from the United States. That
6    single possible law is Singapore’s Reciprocal Enforcement of Foreign Judgments Act.
7
                  However, the Reciprocal Enforcement of Foreign Judgments Act specifically
8
     exempts any Bankruptcy matters. As explained at paragraph 2. –(2) of the Reciprocal
9    Enforcement of Foreign Judgments Act:
10
                       (2) For the purposes of this Act, “action in personam” shall not be deemed to include any
11                         matrimonial cause or any proceedings in connection with any of the following matters:

12
                           a)   matrimonial matters
13                         b) administration of estates of deceased persons
                           c)   bankruptcy
14

15                 Thus, upon the basis of Singapore’s own law, the action commenced
16   by Appellees in Singapore is barred, as a matter of Singapore’s law from even

17   being prosecuted before the Singapore Supreme Court because it is pursued upon
     the basis of recognition of a foreign judgment in a Bankruptcy case under law which
18
     does not allow for any such recognition or enforcement for any foreign Bankruptcy!!!
19

20       3. The reason the matter in Singapore became, and remains, a significant issue is that
     Appellant’s spouse – a career officer in, and 30 year veteran of, the Israeli Defense Force – was
21   being provided medical benefits from Israel to her separate property, non-community property,
     non-Bankruptcy property HSBC Singapore Bank account. Moreover, the entire of the abuse of
     process that was, and is, the Singapore proceeding was focused solely on stealing Appellant’s
22
     dying spouse’s money so that Appellant’s spouse could not obtain medical treatment and would
     die!!! As later occurred Appellant’s spouse did die, and it is for the unconscionable thievery – well
23   exemplified as to its grotesque horror in the Singapore proceeding that Appellant contends that
     the Trustees, their counsels are guilty and culpable for Appellant’s spouse’s depraved indifference
24   murder. Of course, the mockery of justice in both Singapore and the United States committed by
     the Trustees and their counsel is that the sole motivation was pure greed with absolutely no
25   legitimate or even ostensible Bankruptcy purpose.

26   That is the shameful nature of this Bankruptcy: Trustees are willing to steal from a dying (now
     deceased) woman so as to fatten themselves further with unconscionable self-enrichment.
27

28
     21-cv-163 / 417                Appellant’s Opening Brief January/2022                                 – pg. 23
1

2                  In sum, the issue here is that even though Appellant complied fully with the
3    Trustees and the Bankruptcy court’s demands for signing documents under pain of
4    contempt – which Appellant did not once, but twice, the Trustees nevertheless moved
5    forward with involuntary Bankruptcy litigation in Singapore.
6

7                 The Singapore litigation was an abuse of the laws and process of the nation
8    of Singapore because said action was precluded by the laws of Singapore ab initio and
9    undertaken solely for the conspiratorial purposes of ransacking Appellant’s spouse’s
10   HSBC Bank Singapore account outside all bounds of law.
11

12                The result of all of these machinations by the Trustees was nothing but
13   unconscionable self-enrichment for purposes not supported by any law in either the
14   United States or Singapore.
15

16                Ultimately, the Trustees became obsessed and mesmerized by the idea
17   that their personal self-enrichment was more important than Susan Szanto’s survival.
18

19                Susan Szanto was a person of value, a heroine of Israel’s fortitude that
20   there will never be another holocaust, whose presence on Earth was significant.
21

22                For Trustees, however, the decision was that Susan’s life was unimportant
23   to their complete and total confiscation of her money and property. The sham contempt
24   applications, the demands to incarcerate Peter Szanto, the improper and contra-legal
25   proceeding in Singapore were all undertaken with knowledge that Judge McKittrick
26   would reward Trustees with costs and attorneys’ fees no matter what nonsense and
27   lying were pled by them in the Bankruptcy court.
28
     21-cv-163 / 417           Appellant’s Opening Brief January/2022                  – pg. 24
1

2
                                  ‘e. The Tragedy in the Trial Court
3

4
                   The judicial tragedy of Judge McKittrick is his belief that his friends and
5
     colleagues from his many years in practice as an attorney guarantee that those of his
6
     acquaintance will always tell the truth.
7

8
                   Compound this with Judge McKittrick’s reliance on appearance as a factor
9
     in truthfulness and, as a practical manner, it is easy to understand how whatever Peter
10
     Szanto says in Judge McKittrick’s court will always be perceived a lie, irrespective of
11
     all of Peter Szanto’s veracity.
12

13
                  From these factors, this Court need make the determination that there was
14
     never any valid basis for a contempt citation either in 2018 or 2021.
15

16
                                    6. Declaration / Verification
17

18       a. I, Peter Szanto, the Appellant herein declare as true, under pain of penalty of

19
             perjury that all of the statements in this application are true based on my own
             personal knowledge.
20

21       b. Or are declared to be true based upon information and belief which I reasonably
             understand to be true.
22

23
         c. I verify, under penalty of perjury that the foregoing is true and correct.
24

25            18 January - 2022 /s/ signed electronically Peter Szanto at Irvine CA

26

27

28
     21-cv-163 / 417             Appellant’s Opening Brief January/2022                  – pg. 25
1

2
                                            7. Conclusion
3

4                For this Court it is possible the sum conclusion after reading this Brief might

5    be: WOW, the Trustees plan is way too complicated to be intentionally thought out and
     executed.
6

7                But no, the better question to ask is to what extremes will Trustees and their

8    counsel -- who usually handle zero value / no asset Bankruptcies – go to expropriate
     $8.5 million of Appellant’s Bankruptcy estate, heaped onto stealing $2.5million of
9
     Susan Szanto’s separate property, non-Bankruptcy property, non-community property
10
     added also to $700,000 of Susan Szanto’s separate property furniture, jewelry and
11   household possessions.
12
                 The opportunity to increase their personal wealth by $11.7 million dollars
13
     is what motivates the Trustees and their counsel to their very despicable acts.
14
                 Based on the 6 years of “open field blocking” by the Bankruptcy court, Susan
15
     and Peter Szanto’s lifetime of work is merely swallowed and evaporated by the further
16
     reliance of Trustees and their counsels’ belief in the “eternal truth” that judges easily
17   dismiss non-attorneys as know-nothing numbskulls who don’t deserve to have money or
18   property in any event.

19
                 The contempt and arrest citations need be vacated because there has never
20   been any basis for their legal validity.
21
                 The harmful error in the trial court was reliance on the notion that friends
22
     and colleagues can always be trusted, but a person whose name is tough to pronounce
23   and whose appearance is unappetizing must be lying.

24
                  Reversal is legally justified and need be granted.
25

26
         Most Respectfully,

27
                         Dated January 18, 2022 /s/ signed electronically Peter Szanto
28
     21-cv-163 / 417            Appellant’s Opening Brief January/2022                   – pg. 26
1

2

3    WORD COUNT

4

5

6    The within brief is 7,189 words in length as counted by the
7    Microsoft Word 2022 program which was used to compose it.
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     21-cv-163 / 417               Appellant’s Opening Brief January/2022   – pg. 27
1

2
                                  PROOF OF SERVICE
3

4    My name is Maquisha Reynolds, I am over 21 years of age and not a party to the within
5    action. My business address is PO Box 14894, Irvine CA 92623.

6
         On the date indicated below, I personally served the within: BRIEF on the following
7
     by placing the within document in postage pre-paid envelope addressed as:
8

9      1) JPMorgan Chase Bank’s Portland Counsel           2) United States Trustees Arnot + Smith

10        Tim Cunningham at Davis Wright Tremaine               620 SW Main St #213
          1300 SW Fifth Avenue, Suite 2400,                     Portland, OR 97205
11
           Portland, OR 97201
12

13          3) Boris Kukso                                 4) United States Bankruptcy Court
            United States Department of Justice             1050 SW Sixth Avenue # 700,
14
            Tax Division
15          P.O. Box 683                                        Portland OR 97204

16
            Washington, DC 20044

17
      5) Gary L. Blacklidge                              6) Nicholas J. Henderson
18      Jordan Ramis PC                                   c/o Motschenbacher & Blattner
        2 Centerpointe Drive, 6th Floor
19      Lake Oswego, OR 97035                                117 SW Taylor St., Suite 300
                                                              Portland, OR 97204
20

21    Service by e-mail was to Bank of America’s Portland counsel, Mr. Laurick, at:

22            jlaurick@kilmerlaw.com and tparcell@kilmerlaw.com

23
          I declare under penalty of perjury under the laws of the United States that the
24
     foregoing is true and correct. Signed at Irvine CA.
25

26             Dated January 18, 2022 /s/ signed electronically Maquisha Reynolds

27

28
     21-cv-163 / 417            Appellant’s Opening Brief January/2022                      – pg. 28
